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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF WEST VIRGINIA

   UNITED STATES OF AMERICA

   v.                                              CRIMINAL ACTION NO. 2:05cr32


   RICKY SEABOLT,
                           Defendant.

                                          ORDER/OPINION

           On the 13th day of March 2007, came the United States of America by Stephen D. Warner,

   Assistant United States Attorney, and also came the defendant, Ricky Seabolt, in person, and by

   his counsel, David L. Orndorff, pursuant to a Petition for Action on conditions of Pretrial Release

   filed December 13, 2005, and a Warrant for Arrest issued by United States Magistrate Judge John

   S. Kaull on December 16, 2005.

                                        I. Procedural History

           On September 13, 2005, Defendant was released on conditions set by Order [Docket

   Entry 14].   On December 16, 2005, Defendant’s then-Adult Pretrial Services Officer Mark

   Sneberger filed a Petition for Action on Conditions of Pretrial Release alleging that Defendant

   violated his conditions of release by failing to report as directed to the Probation Officer; failing

   to submit his monthly supervision report; and failing to immediately advise the court, defense

   counsel and the U.S. Attorney in writing before any change in address or telephone number. The

   trial date in this matter was continued generally due to Defendant’s non-appearance. Defendant

   was arrested pursuant to the Court’s order on March 8, 2007.

           Prior to the hearing Defendant waived the hearing regarding the alleged violations in

   writing and stated orally that he wished to surrender to the custody of the United States Marshal
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   pending further proceedings.

          It is therefore ORDERED that the release of Defendant Ricky Seabolt on conditions is

   REVOKED and that:

          1)     Defendant be REMANDED to the custody of the United States Marshal pending

                 further proceedings in this case;

          2.     Defendant be confined in a facility separate, to the extent practicable, from

                 persons awaiting or serving sentences or being held in custody pending appeal;

          3.     Defendant be afforded a reasonable opportunity for private consultation with

                 defense counsel;

          4.     On order of a court of the United States or on request of an attorney for the

                 Government, the person in charge of the corrections facility in which Defendant

                 is confined shall deliver the defendant to the United States Marshal for the purpose

                 of an appearance in connection with a court proceeding; and

          5.     The Clerk shall direct copies of this order to counsel for the United States, to

                 counsel for the defendant, to the United States Marshal, and to the United States

                 Probation Officer.


   DATED: March 14, 2007.
                                                /s John S. Kaull
                                                JOHN S. KAULL
                                                UNITED STATES MAGISTRATE JUDGE




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